   

| United States Bankruptcy Court for the: ] | SEP ~3 2019 Va

Northern District of California | U.S. BANKRUPTCY COURT
SS. f
Case number or snowny: Chapter you are filing under: | SANTA ROSA, CA
Chapter ?
CY Chapter 14 |
C) Chapter 12 | se abe:
Q Chapter 13 | T] Check if this is an
|

|
!
|
|
amended filing

Official Form 101
Voluntary Petition for individuals Filing for Bankruptcy 42147

The bankruptcy forms use you and Debfor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes ff e{ther debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report Information as Debtor 7 and the other as Debtor 2. The
same person must be Debfor 7 in ail of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsibie for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Identify Yourself
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4. Your full name
Write the name that is on your
govemment-issued picture James -
identification (for example, First name First name
your driver's license or Ronald
passport). Middle name Middte name
Bring your picture Butts
identification to your meeting ——- Last name Last name
with the trustee.
Suffix (Sr, Jr. HB Suffix (Sr, Jr, il, li}
2. All other names you
have used in the last 8 First name Firat name
years
Include your martied or Middle name Middie name
maiden names.
Last name Last name
j
First name Firet name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security mmx x _ Bo _ TO 3 9 a,
number or federal OR OR
Individual Taxpayer 9 9
Identification number XX OK RK KX
(ITIN)

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 

 

 
 

Debter 1

James Ronald Butts

 

First Name

 

4, Any business names
and Emptoyer
Identification Numbers
(EIN} you have used in
the last 8 years

include trade names and
doing business as names

Middle Name

About Debtor 1:

Last Name

Case number (mewn)

 

i | have not used any business names or EINs.

About Debtor 2 (Spouse Only In a Joint Case}:

(2 | have not used any business names or EINs.

 

Business name

Business name

 

 

 

 

Business name Business name
EN EN
nO TTT mn

s. Where you live If Debtor 2 lives at a different address:
16035 Brookdale Drive

6. Why you are choosing
this district to file for
bankruptcy

 

Number Street

 

 

 

Guemeville CA 95446
City State ZIP’ Code
Sonoma

County

if your mailing address is differant from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

Number Street

 

P.O. Box

 

City State ZIP Code

Check one:

wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

1 i nave another reason, Explain.
(Gee 28 U.S.C. § 1408.)

 

 

 

 

 

 

Number Street

 

 

City State ZIP Code

 

County

If Debtor 2’s malting address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

P.O, Box

 

City State ZIP Code

 

Check one:

C} Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(3 | nave another reason. Explain.
(See 28 US.C. § 1408)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
Debtor 4 James Ronald Butts Case number ¢fhaown

First Name Middle Namie Last Name

Fell the Court About Your Bankruptcy Case

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010). Also, go to the top of page 1 and check the appropriate box.
are choosing to file

Chapter 7

C) Chapter 11
C] Chapter 12
(} Chapter 13

under

s. How you wilt pay the fee ) | will pay the entire fee when | file my petition, Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

() I need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in installments (Official Form 103A).

i ! request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in instalments). if you choose this option, you must fill cut the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

 

 

 

9. Have you fited for No
bankruptcy within the
last 8 years? (ed Yes. District When Case number
MM/ DD/YYYY
District When Case number
MMi DD IYYYY
District When Case number
MIM DD SYYYY
49. Are any bankruptcy (Al No
cases pending or being
filed by a spouse who is C) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known.
you, or by a business MM/DD PYYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM / ODI YYYY
11, Do you rent your CINo. Go to line +2.
residence? @ Yes. Has your landlord obtained an eviction judgment against you?

{@ No. Go to line 12.

CJ Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptey page 3

 
 

Dabtor 4 James Ronaid Butis Case number {if own).

First Name Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprictor

 

 

12, Are you a sole proprietor [4 No. Go to Part 4.
of any full- or part-time
business? (J Yes. Name and location of business

 

A sole proprietorship is a
business you operate as an
individual, and is not a
separate fegal entity such as

ion, partnership,
; corporat ion, partnership, or Number Suzi

 

Name of business, if any

 

lf you have more than one
sole proprietorship, use a
separate sheet and attach it

 

 

 

 

to this petition. City Slate iP Code
Check the appropriate box to describe your business:
{) Health Care Business (as defined in 11 U.S.C. § 104(27A))
() Single Asset Real Estate (as defined in 114 U.S.C. § 101(51B))
(1 Stockbroker (as defined in 11 U.S.C. § 101(53A)}
C) Commodity Broker (as defined In 14 U.S.C. § 104(8))
[J None of the above
43, Are you filing under If you are filing under Chapter 11, the court must know whether you are a smal! business deblor so that it
Chapter 11 of the can set appropnate deadlines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a smail business any of thase documents do not exist, follow the procedure in 17 U.S.C. § 1116{1}(8).
r?
debtor? — Wi No. 1am not filing under Chapter 11.
For a definition of smaif
business debtor, see ©) No. jam filing under Chapter 11, but 1am NOT a smail business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

CI Yes. | am filing under Chapter 11 and 1 am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs lhnmediate Attention

 

 

14. Do youownorhaveany [ino
property that poses or is
alleged to pose a threat Cl Yes. What is the hazard?
of imminent and
Identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that musf be fed, or a building
that needs urgent repairs?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Cade

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor 1 James Ronaid Butts

First Name Middle Name

Expiain Your Efforts

 

Lest Name

to Receive a Briefing About Credit Counseting

Case number (# known),

 

46. Tell the court whether
you have received a
briefing about credit
counseting.

The ifaw requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

td | received a briefing from an approved credit
counseling agancy within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

©) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy potition, but | do not havea
certificate of completion,

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Cd certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you mace to oblain the briefing, why
you were unable fo obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still recaive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and Is limited to a maximum of 15
days.

CJ] } am not required to receive a briefing about
credit counseling because of:

C) Incapacity. { have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after {
reasonably tried ta do so.

C} Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to recelve a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Onty in a Joint Case):

You must check one:

(3 | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the cerlificate and the payment
plan, if any, that you developed with the agency.

(J | received a briefing from an approved credit
counseling agency within the 180 days before !
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Gi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you fited for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment pian you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

(2 1 am not required to recelve a briefing about
credit counseling because of:

LJ incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decistons about finances.

C] Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the infernet, even after |
reasonably tried to do so.

1 Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy page 5

 

 
Debtor 1

First Name

 

James Ronald Butts

Middle Name

Case number (i known),
Last Name

Answer These Questions for Reporting Purposes

 

46. What kind of debis do
you have?

17. Are you filing under
Chapter 77

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution

__to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

49. How much do you
estimate your assets to
be worth?

 

20. How much do you
estimate your liabilities
to be?

Sign Below

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 104(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

EJ No. Go ta line 16b.
1 Yes. Go to line 17.

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

E] No. Go to line 166.
QQ Yes. Go to line 47.

16c. State the type of debts you owe that are not consumer debts or business debts,

 

C1 No. tam not filing under Chapter 7. Go to line 18.

1 Yes. i am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

 

$0-$50,000
CJ $50,001-$100,000
C) $100,001-$500,000

{2 $500,001-$1 million

(4 $0-850,000

(J $50,001-$100,000
CJ $100,001-$500,000
CL) $500,001-$1 milion

CJ $1,000,001-$19 million
CI $10,000,001-$50 miflion
(J $50,000,001-$100 million

{4} $100,000,001-$600 million

CI $4,000,001-$10 million

CJ $46,000,001-$50 million
CF $50,000,004-$100 million
C3 $100,000,001-$500 mitlion

hl No
CJ Yes
{4 1-49 CJ 1,000-5,000 a 25,0041-50,000
CJ s0-99 (] 5,001-10,000 [) 50,001-100,000
C} 100-199 C} 40,001-25,000 L] More than 100,000
200-999

(2 $500,000,001-$1 billion
©} $1,000,000,001-$10 bition
CJ $10,000,000,001-$50 billion

O) More than $50 billion

CJ $500,000,001-$1 billion

CJ $1,000,609,004-$40 biltion
(I $10,000,000,004-$50 bitlion
(J More than $50 billion

 

 

For you

   

Official Form 101

! have examined this petilion, and | declare under penalty of perjury that the information provided is true and

correct.

if | have chosen to file under Chapter 7, ! am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of tite 11, United States Code. | understand the relief available under each chapter, and i choose to proceed

under Chapter 7.

If no atterney represents me and | did not pay or agree to pay someone who is not an attomey to help me fill out
this document, i have obtalned and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition:

ee $250,000, or imprisonment for up to 20 years, or both.
1619

Signature of Debtor 2

 

 

Signature of Debtor 1

Executed on 08/30/2019

Executed on
MM /§ DD IYY¥YY

MM / DD IYYYY

Voluntary Petition for Individuals Fillng for Bankruptcy page 6
Dabter 4 James Ronald Butts

Case number (fr knawn),

 

First Name Middle Name Last Name

For your attorney, if you are
represented by one

1, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s}

the notice required by 14 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attorney, you do nat

 

 

 

 

 

 

 

 

need to file this page.

x Date
Signature of Attomey for Debtor MM of 6OBD OfYYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 7

Case: 19-10655 Doc#1 Filed: 09/03/19 Entered: 09/03/19 09:48:38 Page 7 of 53

 

 

 
Debtor 4 James Ronald Butts Case number ttaonn)

First Name

Middie Name

For you if you are filing this

bankruptcy without an
attomey

If you are represented by
an attorney, you do not

need fo file this page.

Official Form 107

  
 

 

Last Name

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-ferm financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not tist
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of ail your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptey fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C3 No

4 Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CI} No
Ld Yes
Did you pay or agree to pay someone whe is not an attorney to help you fill out your bankruptcy forms’?

bl No

CJ Yes. Name of Person .
Altach Bankruptey Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an

Lo

attorney may causeyme to} ights or property if | do not properly handle the case.
Joa kas
B

 

 

 

 

 

 

James utts x
Signature of Dabtor 1 Signature of Dabtor 2
Date 08/21/2019 Date
MM/DD /YYYY MM/ DD SYYYY
Contact phone {707) 205-7128 Contact phone
Cellphone = _(707} 205-7128 Cell phone
Email address jimb99@msn.com Email address

 

Voluntary Petition for Individuals Filing for Bankruptcy page 8
 

Debtor?  Yames Ronald Butts

 

Fist Name Middie Name Last Name

Debior 2
(Spouse, (fing) First Name Middle Name (asi Name

 

United States Bankruptcy Court for ihe: Northern District of California

Case number

 

 

Official Form 106A/B
Schedule A/B: Property

 

(2) Check if this is an
amended filing

4q2His

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsibie for supplying corract information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known), Answer every question.

 

Describe Each Residence, Building, Land, er Other Real Estate You Oww or Have an interest In

 

4. Do you own or have any tegat or equitable Interest in any residence, building, tand, or similar property?

i No. Go fo Part 2.

€) Yes. Where is the property?
What is the property? Check all that apply.

CQ Single-family home
‘Sea address, if available, or olher description G1 Duplex or multi-unit building
Ld Condominium or cooperative
CA Manufactured or mobile hame
Ci Land
C3 investment property
CJ Timeshare
C) other

 

 

 

Cily State ZIP Code

 

Who has an interest in the property? Check one.

(3 Debtor 4 only
County ( Debtor 2 only
CL} Debtor 1 and Debtor 2 only
C) at ieast one of the debtors and another

 

Do not deduct secured claims or exemptions. Pud
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

$ $.

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate}, if known.

 

lat Gheck if this is community property
(see instructions)

Other information you wish to add about this item, such as ijocal

property identification number:

 

If you own or have more than one, list here:
What Is the property? Check all that apply.
Ci Single-family home

‘2 Sireet address, if available, or other description O Duplex or multi-unit bultding

{J Condominium or cooperative

CF Manufactured or mobite home

LJ and

CI Investment property

C) Timeshare

2 other

 

 

 

City State ZIP Coda

 

Who has an Interest in the property? Check one.

(J Debtor 4 only

C3 Debtor 2 only

CJ Debtor 4 and Debtor 2 only

(2) At feast one of the debtors and another

 

County

Do not deduct secured claims or exemptions. Put
the amaunt of any secured claims on Schedule D:
Creditors Who Have Clalms Secured by Praparty.

Current value ofthe Current value of the
entire property? portion you own?

$ %

Describe the nature of your ownership
interest (such as fee simple, tenancy by
fhe entireties, or a Hfe estate}, if known.

 

LJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 706A/8 Schedule AJB: Property

page 4
Debtor 4 James Ronald Butts

 

Fast Name Middie Name

1.3.

Last Name

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here, ............:.csesssessncstsetersreeeeres Levey ages cecnetenneneceneeneneerenerensetaes >

Describe Your Vehicles

 

What fs the property? Check all that apply.
Ct Single-family home

(2 Duplex or multi-unit bullding

2d Condominium or cooperative

(4 Manufactured or mobile home

C) Land

(2 investment property

Ld Fimeshare

C) other

 

Who has an interest in the property? Check one.
(2 Debtor 7 onty

C2 Debtor 2 only

CI Debtor 4 and Dabtor 2 only

(] At jeast one of the debtors and another

Case number {a kaowny,

Deo not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

Interest {such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

LJ Check if this ts community property
{see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

 

$ 0.00

 

 

 

 

Do you own, lease, or have lega! or equitable interest in any vehicles, whether they are ragistered or not? Include any vehicles
you own that someone else drives, If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

{] No
td Yes
3.4. Make: Scion
Modal: xB
Year: 2012
78000

Approximate mileage:

Other information:

 

 

 

 

if you own of have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
tA Debtor 1 only

fal Debtor 2 only

C] Dabtor 1 and Debtor 2 only

(3 At least one of the debtors and another

E) Check if this is community property (see
instructions}

Who has an interest In the property? Check one.
(2) Debtor 4 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(C1) At jeast one of the debtors and another

LJ Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Properly.

Current value ofthe Current value of the
entire property? portion you own?

$ 4,500.00 4,500.00

 

Bo not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current vaiue ofthe Current value of the
entire property? portion you own?

page 2
James Ronaid Butts

 

 

 

 

 

Who has an interest in the property? Check ona.

(I At least one of the debtors and another

CJ Check if this Is community property (see

Who has an interest is the property? Check one.

Debtor t
First Name Middle Name
3.3. Make:
Model: (J Debtor 4 only
Year: C) Debtor 2 only
er (] Debtor 1 and Debtor 2 only
Approximate mileage:
Other information:
instructions)
a4, Make:
Model: (J pebtor 4 only
Q Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

(.} Debtor 4 and Debtor 2 only
(J At least one of the debtors and another

(} Check if this is community property (see
instructions)

Case number known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Glaims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

@ No

Li Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

if you own or have more than one, fist here:

4.2, Make:
Modek:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for ail of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that mumiber Were au... ccccsssessnssssscssesprsneresnseeencsssennseseeseieccapeegeneceesesateetesanenaetanseneeaees

Official Form 106A/B

Who has an interest in the property? Check one.
[3 Debtor 4 only

(3 debtor 2 only

(2 Debtor 1 and Debtor 2 only

CJ at least one of the debtors and another

L) Gheck if this is community property (see
instructions)

Who has an interest in the property? Check one.
E} Debtor 4 only

C] Debtor 2 only

LJ Debtor 4 and Debtor 2 only

(J At least one of the debtors and another

(] check if this is community property (see
instructions}

Scheduie A/S: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current vatue ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

 

 

 

 

 

5 4,500.00
> Po

 

 

 

page 3
Debtor 1 James Ronald Butts Case number (itknown),

 

 

Fist Name Middie Name Last Name

Beseribe Your Personal and Heusekold Items

 

 

Bo you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

Ld Yes. Describe......... Bed, chest of drawers, TV, recliner, living room chair and ottoman, dishes,
i silverware, glasses, microwave, toaster oven,-folding.table,-3. lamps, bedside
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners, music
collections; electronic devices including cell phones, cameras, media players, games

C] No

WA Yes. Describe......... TV, laptop, printer, cell phone, keyboard

8, Collectibles of value

Exampies: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
iA No

Cl Yes. Desorlbe

 

, Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

hd No svn senna
C] Yes. Describe.......... |

{

t

©

10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

No one
C} Yes. Describe..........

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

) No cee sue tpg nty itipsumnctinaneinniety wa tminienniinga
\ Yes. DescHbe. Everyday clothes; nothing luxurious or expensive

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloam jewelry, watches, gems,
gold, silver
No

C] Yes. Describe.........

+3. Non-farm animals
Examples: Dogs, cats, birds, horses

fA No povemmee ae

C] Yes. Describe..........

14. Any other personal and household items you did not already list, including any health alds you did not list

\d No decent
GI Yes. Give specific
information. ............. i

45. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that mummber R60] ....ccccccccccccccccccssscsscsececssseessacsssscscstesersssctonsyeosqeeenesenseeesestsnetsnsssenscoranencesceceucecetsetcatiteuinsananseresss SP

Official Form 106A/B Schedule A/B: Property

Current vatue of tha
portion you own?
Bo not deduct secured claims
or exemptions.
5 1,500.00
$ 3,000.00
8
‘|
| $
'§

 

‘ig 500.00

 

 

 

 

$ 5,000.60

 

 

page 4
Debtor 4 James Ronald Butts

 

First Name

 

Middle Name Last Name

Describe Your Financial Assets

Case number {itkaown),

 

Do you own or have any lagal or equitabie interest in any of the following?

16, Gash

a No

17.Deposits of money

C] No
RA Ves. seen

18, Bonds, mutual funds, or publicly traded stocks

Wi No
CB Yes oe

Current value of the
portion you own?

 

 

 

 

 

 

 

 

 

 

 

 

an LLC, parinership, and joint venture

QC) No

\B Yes. Give specific
information about

PEMA. eseeeesecstsrarees

 

 

Ba not deduct secured claims
or exemptions,
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
Institution name:

47.4, Checking account: Ally Bank $ -4.24
17.2, Checking account: $
47.3. Savings account Ally Bank $ 0.10
17,4. Savings account: %
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
47.8. Other financial account: $
17.9. Other financial account: $

Examples: Bond funds, investment accounts with brokerage firms, money market accounts
Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
Name of entity: % of ownership:
Poiebridge Press 1% % $ 25,000.00
0% %
0% %

Official Form 106A/B

 

Schedule AB: Property

page 5

 

 
Debtor 4 James Ronald Butts Case number tt snown)
First Name Middle Nate Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instrumenis include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Wi No

lal Yes. Give specific  !ssuer name:
information about

 

 

 

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403¢b}, thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i No
} Yes. List each
account separately. Type of account: Institution name:
404 fk) or simitar plan: $
Pension plan: 3
IRA: §
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22, Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples; Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

id No

EY )S cecccccstcttensessseen Institution name or individual:
Electric: 5
Gas: $
Heating of: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: §
Rented furniture: §
Other: §

23. Annuitles (A contract for a periodic payment of money to you, either for iife or for a number of years)
wi No
EU Yess.  IssueTname and description:
3
$

 

Official Form 106A/B Schedule A/B: Property page 6
Dabtor 4 James Ronald Butts Case number {ittaown
First Name Middle Name Laat Name

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C, §§ 530(b)(1), 529A(b), and 529(b)}{1).
tA No

CB VES eerie Institution name and description. Separately file the records of any interests.17 U.S.C. § 524(c):

 

 

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

4 No

(] Yes. Give specific
information about them....; 3

26, Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

bl No

C] Yes. Give specific | . . - So I

information about fhem.... $

27, Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi No .
C) Yes. Give specific
information about them.... | i$
bce cn snd
Money or property owed to you? Current value of the
portion you own?
Bo not deduct secured

claims or exemptions.

' 28,Tax refunds owed to you

ii No

C} Yes. Give specific information

4
i Federal:
about them, including whether | reser §
you already fited the returns [ ; State:
and the tax years. 0... ! I
| ' Local:
I oud

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property setilement

i No

La) Yes. Give specific information..............

i
Allmony: $
Maintenance: $
| Support: $
| | Divorce settlement: $
[ | Property settlement: $
36. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
i No cn nein euiany
(] Yes. Give specific information. ..e..«| ;

Official Form 106A/B Schedule A/B: Property page 7
Debtor 1 James Ronald Butis Case number (irinown),
First Name Middle Name Last Name

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

i No

CJ Yes. Name the insurance company Company name: Beneficiary: Surrenders or refund value:
of each poticy and list its value. ...

 

 

 

32. Any interest in property that ls due you from someone who has died

Hf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

L@ No

fl ves. Give specific information.............. |

|

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insufance claims, or rights to sue

tdi No

CI Yes. Describe each claim. wus } oo a i
' serottemsesinaein in nienincenind &

 

34. Other contingent and unliquidated claims of every nature, including counterclalms of the debtor and rights
to set off claims

{4 No

C2) Yes. Describe each claim, nics

 

Rid

35. Any financial assets you did not already list

LA No

i
C] Yes. Give specific information... | $

 

 

36, Add the dottar value of aii of your entries from Part 4, inctuding any entries for pages you have attached 13.86
for Part 4, Write that nUMbOr NEFE a sscccccensccnsnsnnnniiinnuniinannanninanniunnnnnncnnnnnn D 1S 25,013.

 

 

 

Bescribe Any Business-Related Property You Qwmn or Have an Interest In. List any real estate in Part 1,

 

 

37.Do you own or have any legal or equitable interest in any business-related property?
Ld No. Go to Part 6.
C] Yes. Go to tine 38.

Current value of the
portion you own?
Bo not deduct secured claims
or exemptions.
a8. Accounts receivable or commissions you already earned
OQ) No a .
C2 Yes. Desoribe...... |
39, Office equipment, furnishings, and supplies
Examples: Business-relaled computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
(1 No vsti ov vintage gy teppei oe
CJ Yes. Describe....... \

Official Form 106A/B Schedule AJB: Property page §
Debtor 4 James Ronald Butts Case number (known)
FirstName Fiddle Name Last Name

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

Ld No

td Yes. Describe... oo 5

41. Inventory
Qi No —
(2) Yes. Deseribe......|

ene

42. Interests in partnerships or Joint ventures

J] No

CI Yes. Describe... ame of entity: % of ownership:

% $
%
% $

Bcd

 

43. Customer lists, mailing lists, or other compilations
OI No
C) Yes. Do your jists include personally identifiable information (as defined in 17 U.S.C, § 101(41A))?
CQ No Be
(2 Yes. Describe........ |

44. Any business-related property you did not already list
C) No

Q Yes. Give specific
information .........

 

 

 

 

 

fF 4 4 <4

 

 

 

 

 

 

45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number Mere 0... cscs ccsssesesssesstaenissteeeuseutiusessouusscintiasansetinssacontisessconissassctetietsiesereasceetience SBP PO

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest in.
If you own or have an interest in farmland, list it in Part 1.

 

 

46.Deo you own or have any legal or equitable interest ln any farm- or commercial fishing-related property?
6 No. Go to Part 7.
C1 Yes, Ge to line 47.
Current value of the
portion you own?
Ba not deduct secured claims

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
LJ No
Cl YER sssnsennnninaad |
I. 8

Official Form 106A/8 Schedule A/B: Property page 9
Debtor 1 James Ronald Butts Case number {i known),

 

 

First Name Middie Name Last Name

48. Crops—either growing or harvested

Ci No

C3 Yes. Give spacific
information. ............ $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
CE] no
OD YS cc PO

50, Farm and fishing supplies, chemicals, and feed

] No
CE Yes ccc cccsccscsesesnsceeel

 

 

51. Any farm- and commercial fishing-related property you did not already list
[ No

GI Yes. Give specific po “
information. ............ i $

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here .. censussecesstacaneseansesiasssueseuavavessasevesssseerusersrarenersecneyecegecegeesionancnasanusecensncenesteceesenneceeceeseseneies OP

 

0.00

 

Bescribe Ali Property You Own or Have an interest in That You Did Not List Above

 

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Wi No

e
C] Yes. Give specific i
information. ..

 

54. Add the dollar value of all of your entries from Part 7. Write that number Here .............ccccecceseescsceetenenseeceeeeessecen eee OP $

 

0.00

 

 

: List the Totals of Each Pari of this Form

 

55. Part 1: Total real estate, Mme 2 o...ccccssssssssscssssssssssscssssssessseesesssstrssaeneescesnsseeqqeseqcepesseesesesvusectstsesssssnssnssseesseceeseessinssnmeneccnscecse  &

56. Part 2: Totat vehicles, fine 5 $ 4,500.00

57. Part 3: Total personal and household items, line 18 $ 5,000.00

58. Part 4: Total financial assets, line 36 $ 25,013.86

59, Part 5: Total business-related proparty, Hine 45 $ 0.00

60, Part 6: Total farm- and fishing-refated property, line 52 $B. 6.00
61.Part 7: Total other property not listed, line 54 +5 0.00

§__ 34,513.86

62. Total personal property. Add lines 56 through 61. ............0 Copy personal property total = #3

 

0.00

34,513.86

 

83. Totat of all property on Schedule AJB. Add line 65 + fine 62... eee cttteneeneneenteuseten aasnateecsesersaantaaanessonnesanaeees $

 

34,513.86

 

Official Form 106A/B Schedule A/B: Property

page 10

 

 

 

 
Debtor 4 James Ronald Butts

Firet Name Nitdle Name Last Name

 

Dabtor 2

 

{Spouss, if filing) First Name Middie Name Last Name
United States Bankruptcy Court for the: Northern District of California

Case number C] Check if this is an
(known) amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equatly responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number {if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so fs to state a
specific dollar amount as exempt. Aiternativaly, you may clalm the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for heaith aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dolar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

 

 

 

 

 

 

i. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

(2 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
( You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2, For any property you list on Schedule A/B that you claim as exempt, fill In the information below,

Brief description of the property andiing on Current value ofthe =Amount of the exemption you ciaim Specific laws that allow exemption

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief Vehicl 4,500.00 Q
description, SiGe $
. {i 100% of fair market value, up to
Line from a
Schedule AB; 9-1 any applicable statutory limit
Brief :
description: Clothing $$ 00.00 lal §
Line from 4 100% of fair market vatue, up to
Schedule A@: 1i_ any applicable statutory fimit
Brief
description;  —tlousehold $4,500.00 ls
Line from 4 100% of fair market vatue, up to
Schedule AB: 6&7 any applicable statutory iimit

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Wf No

C} Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C3 No
C} Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page tof__
Debtor 4 James Ronald Butis

Case number tirknows),

 

First Name Middle Name Last Name

| Additional Page

 

 

Brief description of the property and line
on Schedule A/B that lists this property

Current vaiue of the Amount of the exemption you claim Specific laws that allow exemption
portion you own

Copy the value from Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/D
Brief
description: § Lis
Line from ©) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ CI $
Line from CE 100% of fair market value, up to
Schedule A‘B:. ——— any applicable statutory Jimit
Brief
description: $, CIs
Line from Gd 100% of fair market value, up fo
Schedule AB: any applicable statutory limit
Brief
description: $ (I$
Line from C3 100% of fair market value, up to
Schedule AB: any applicable statutory limit
Brief
description: $ Clg
Line from Cd 100% of fair market value, up to
Schedule AB: ——— any applicable statutory limit
Brief
description: $ Os
Line from ©) 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description: 3 Cs
Line from C 100% of fair market value, up to
Schedule A: any applicable statutory limit
Brief
description: 4 Clg
Line from (2 100% of fair market vatue, up to
Schedule AB: -———— any applicable statutory iimit
Brief
description: 3 ls
Line from CI 100% of fair market value, up to
Schedule A/B: any applicable statutory fimit
Brief
description: § L$
Line from LJ} 400% of fair market value, up to
Schedule A/B: any applicabie statutory iimil
Brief
description: § Cs
Line from Cd 100% of fair market value, up to
Schedule A/B:. ——-—~ any applicable statutory limit
Brief
description: $ Lag
Line from CJ 100% of fair market value, up to
Schedule A/B; ~~ any applicable statutory mit

Official Form 106C

Schedule C: The Property You Claim as Exempt page 2. of

 

 

 

 

 
James Ronald Butts

Firet Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if fillag} firet Name

 

Middle Name tast Name

United States Bankruptcy Court for the: Northern District of California

 

Case number
Gf known}

 

C} Check if this is an
amended filing

 

Official Form 106D
Schedule BD: Creditors Who Have Glaims Secured by Property

Be as complete and accurate as possible. if two married people are filing together, both are equally responsibie for supplying correct
information. if more space is needed, copy the Additional! Page, fill [t out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known),

12/16

 

1. Do any creditors have claims secured by your property?
G4 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
(2 Yes. Fill in all of the information below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

List All Secured Claims
Column A. ‘Column Bo: Column.c
2, List all secured claims, If a creditor has more than one secured claim, list the creditor separately amount of claim .. Yalue of collateral. Unsecured |
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. 5 not deduct the... thatsupports this - portion’ ~
As much as possible, list the claims in alphabetical order according fo the creditor's name. value of collateral. claim’ leany *
[ 2.4} Describe the property that secures the claim: 3 $ $
Creditors Name
Number Straet
As of the date you file, the claim Is: Gheck ail that apply.
] Contingent
(CE Unliquidated
City State ZIP Code (2 Disputed
Who owes the debt? Check one. Nature of len. Chack all that apply.
C) Debtor 1 only (] An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan}
Gl Debtor 4 and Debtor 2 only C2 Statutory fien (such as tax lien, mechanic's tien}
(} Atleast one of the debtors and another J Judgment tien from a lawsuit
(3 other Gncluding a right to offset}
[) Check if this claim relates fo a
community debt
_, Date debt was INCUETOO reer rnenewn Gt 4 digits of account MUMDEE nn semen enamine gon a -
[22] Describe the property that secures the claim: $. $. $
Creditors Name
Number Street
As of the date you file, the claim is: Check alt that apply.
| Contingent
C1 unliquidated
City State ZIP Code im) Disputed
i
| Who owes the debt? Check one. Nature of lien. Check all that apply,
CY Debtor 4 only ( An agreement you made (such as morlgage or secured
Cd pebtor 2 only car loan}
C1 Debtor 4 and Debtor 2 only C1) Statutory lien (such as tax Hen, mechanic's lien)
(CY Atteast one of the debtors and another [Judgment lien from a jawsult
CJ other {including a right to offset)
{2 Check if this claim relates to a
community debt
_Date debt was incurred er nn reren StS digits of account number cecewuuummrvnmeapnnnas ra pneu gg nemenp ean
Add the doliar valuo of your entries in Column A on this page. Write that number here: s
Official Form 166D Schedule D: Creditors Who Have Claims Secured by Property page 1of_

 

 

 

 

 
Debtor 1 James Ronald Butts

Case number (itkeown

 

First Name Middle Name

 

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional Page coe claim. Sahie. ° later coun Ce
. mount of claim. Value of collatera jnsecure
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct ihe .. that supports this» portion no
by 2.4, and so forth. value of collateral, claim any
ad Describe the property that secures the clalm: $ $ $
Creditors Name
Nunrber Street
As of the date you file, the claim 1s: Check all that apply.
C] contingent
iy Slate ZIP code C] Unliquidated
{ Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
{1 Debtor t only CG An agreement you made (such as morigage or secured
CI Debtor 2 only car loan}
2 Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic’s lien}
(J At least one of the debtors and another C] Judgment tien from a jawsult
C2 Other {including a right to offset)
E) Check if this claim relates to a
community debt
Bate debi was incurred Last 4 digits of accountnumber_
CJ Describe the property that secures the ciaim: $ $ $
Craditor’s Nama
Number Street
As of the date you file, the clalm Is: Check alt that apply.
Gf) Contingent
I unliquidated
City State ZIP Code Ul disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
1 Debtor 1 only QO] An agreement you made (such as mortgage or secured
O) Debtor 2 ony car loan)
C) Debtor 4 and Debtor 2 only CJ Statutory tien (such as tax lien, mechanic's tien}
(2 At least one of the debtors and another (2 Judgment en from a lawsuit
1 check if this claim relates to a CF other (including a right to offsst)
community debt
Date debt was incurred Last 4 digits of accountnumber
[| Describe the property that secures the claim: $ $ 5.
Creditor’s Name
ftumber Street
As of the date you file, the claim fs: Check all that apply.
Cl Contingent
City Stale ZIP Coda G) Unliquidated
C3 Disputed
Who owes the debt? Check one. Nature of len. Check all that apply.
C) Debtor 1 onty Q] An agreement you made (such as mortgage or secured
(2 pebtor 2 only car loan}
Q) pebtor 1 and Debtor 2 only CI Statutory lien (such as tax lien, mechanic’s lien}
(3 At teast one of the debtors and another C] Judgment fien from a lawsuit
CQ] other (neluding a right to offset)
) Check if this clalm relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber,
Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.
_ Write that number here: .
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page sof _

 

 

 
Debtor 1 James Ronaid Butts Case number (snowy

First Nama Middis Name Last Name

 

 

List Others to Be Notified for a Debt That You Already Listed

 

: Use this page only If you have others to be notified about your bankruptcy for a debt that you already listed In Part t. For example, if a collection

' agency is trying to collect from you for a debt you owe to someone alse, list the creditor in Part 1, and then list the collection agency here. Similarly, if
| you have more than one creditor for any of the debts that you listed in Part 4, ist the additional creditors here. If you do not have additional persons to
_ be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

[| On which line In Part i did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Streat
City State ZIP Code

[ | On which line in Part 1 did you enter the creditor?

Name Last4 digits ofaccountnumber
Number Street
Cly State ZIP Code

[| On which fine in Part 1 did you enter the creditor?

Name Last4 digits ofaccountnumber

 

Number Street

 

 

City State 2iP Code

[| On which line in Part 4 did you enter the creditor?

 

Name Last 4 digits of account number ___

 

Number Street

 

 

 

 

 

 

 

 

 

 

City State ZiP Code

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number __ _
Number Street
City State ZIP Code

[| On which fine in Part i did you enter the creditor?
Name Last 4 digits of account number
Number Street

 

 

Cily State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Clalms Secured by Property page___of__
Debtor 4 James Ronald Butis

 

Firet Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) Firet Name Mkidle tame

Last Name

United Statas Bankruptcy Court for the: Northern District of Califarnia

Case number

{] Check if this is an

 

(lf known}

 

amended filing

 

Official Form 106E/F

 

Schedule E/F: Greditors Who Have Unsecured Claims 412/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY clalms and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a cialm. Also list executory contracts on Schedule
A/B: Property (Official Form 1064/8) and on Schedule G: Executory Contracts and Unexpired Leases (Offictat Farm 106G). Do not include any
craditors with partially secured claims that are listed In Schedule D: Creditors Who Have Claims Secured by Property. 4 more space is
needed, copy the Part you need, fill It out, number the entries in the boxes on the left, Attach the Continuation Page to this page, On the top of
any additional pages, write your name and case number (If known}.

   

List Ali of Your PRIORITY Unsecured Claims

 

| 4. Do any creditors have priority unsecured claims against you?

(ed No. Go to Part 2.
wi Yes.

| 2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim itis. If a claim has both priority and nonpriority amounts, fist that claim here and show beth priority and
nonpriority amounts. As much as possible, list the clalms in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.4

 

IRS

 

Prionty Creditors Neme

P. O. Box 7346

 

 

Number Street

 

Philadeiphia PA 19101
City State ZIP Code
Who Incurred the debt? Check ane.

(4 Debtor 1 only
(CJ Pebter 2 only
C) Bebtor 1 and Debtor 2 only
G] At teast one of the debtors and another

(J Check if this claim Is for a community debt
Is the claim subject to offset?

No
Qlyes

Priority Creditors Name

Off. of the General Counsel,Reg. IX

 

22 | Sacial Security Administration _

 

 

 

Number Streat

160 Spear Street, Ste. 800

San Francisco CA 94105
Cily State ZIP Code

Who incurred the debt? Check one.

{4 Debtor + only

C3 Debtor 2 only

Ed Debtor 1 and Debtor 2 only

CY Atteast one of the debtors and another

(3 Check if this cfaim is for a community debt
Is the claim subject to offset?

a No
OQ Yes

Totat claim Priority —. — Nonpriority :
amount amount :

Last 4 digits of account number 8 1 0 3 $155.73 §__155.73 $. 0.00 |

When was the debt incurred? 12/31/2016

As of the date you file, the claim is: Check all that apply.
(3 Contingent

CJ Unliquidated

CI Disputed

Type of PRIORITY unsecured claim:
C] Domestic support obligations
a Taxes and certain other debts you owe the government

(J Claims for death or personal injury while you were
intoxicated
CG] Other. Specity

 

 

Last 4 digits of account number 8 ot 0 2 $ 13,800.00 3 13,800.0 0.00,

When was the debtincurred? _ 10/07/2015

As of the date you fite, the claim Is: Check ail that apply.
Q Contingent

Cd unliquidated

C] Disputed

Type of PRIORITY unsecured claim:
(J Domestic support obligations
a Taxes and certain other debts you owe the government

(1 Claims for death or personal injury while you were
intoxicated

C3 other. Specify

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 8

 

 
dames Ronald Butts

Debtor 1

Case number ¢Aown)

 

Firet Name Middle Name Last Name

 

Your PRIORITY Unsecured Claims — Continuation Page

 

: After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

=

 

Pronly Creditors Name

 

Nunybar Street

 

 

Olly State ZIP Coda

Who Incurred the debt? Check one.

C3 Debtor 4 only

(3 Debtor 2 only

CG) Debtor 1 and Debtor 2 only

C) At least one of the dabtors and another

(Al Check if this claim is for a community debt

1s the claim subject to offset?

 

 

 

 

 

CG] No
: C] Yes
Priority Creditors Name
Number Street
City State ZIP Code

Who Incurred the debt? Check one,

C} pebtor ¢ only

{J Debtor 2 only

CJ Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

(J Check if this claim Is for a community debt

ts the claim subject to offset?

QC] No
wd Yes

Total claim ..

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check alt that apply.

contingent
€] Untiquidated
{] bisputed

Type of PRIORITY unsecured claim:

U Domestic support obligations
{J Taxes and certain other debts you owe the government

(J Claims for death or personal injury while you were
intoxicated

( other, Specity

 

Last 4 digits of account number $ §

When was the debt incurred?

As of the date you file, the clalm is: Check ail that apply.

OQ Contingent
EG] Unliquidated
Q Disputed

Type of PRIORITY unsecured clair:

OF Domestic support obligations
(J Taxes and cartain other debts you owe the government

C] Ctaims for death or personal injury while you were
intoxicated

C] other. Specify

 

 

 

 

Prosity Creditor's Name

 

Number Sireet

 

 

City State ZIP Code

Who incurred the debt? Check one.

C] Bebtor 1 only

CI} pebtor 2 only

(I Debtor + and Debtor 2 only

€) Atieast one of the debtors and another

G2] Check if this claim Is for a community debt

ls the claim subject to offset?

(J No
QC) yes

Official Form 106E/F

Last 4 digits of account number __ §, $

When was the debt incurred?

As of the date you file, the claim ts: Check all that apply.

C1 contingent
(} Untiquidated
Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were

 

OH OoOC

Other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

Priority :
amount. ~

intoxicated Fe eng ss Ci ean a nse mur isnr ohne nears inierrearegmie eee

- ‘Nonpriority

amount

pag_ of 6

 

 

 

 
Debtor 4 James Ronald Butts

 

First Name Middis Name Last Name

 

List All of Your NONPRIORITY Unsecured Claims

Case number urknown)

 

3. Do any creditors have nonpriority unsecured claims against you?

E No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriovity unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
: nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

| Ad Astra Recovery Systems

 

 

 

 

Nonpriorty Creditors Name

7330 W 33rd Street N; Suite 118

Number Streat

City Stale ZIP Coda

Who ineurred the debt? Check one.

vi Debtor 1 only

C) Debtor 2 only

(3 debtor 4 and Debtor 2 only

G] At least one of the debtors and another

&] Check if this claim is for a community debt

is the claim subject to offset?

i No
Cl] Yes

 

Last 4 digits of account number 8

 

 

2 | Real Time Soiutions

Nonprority Creditors Name

1349 Empire Central Drive; Suite 156

 

 

Nuntber Street
Dallas TX 75247
City State ZIP Code

Who incurred the debt? Check one.

a Debtor 1 only

©] Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(C2 At least one of the debtors and another

(3 Check if this claim is for a community debt

Is the claim subject to offset?

wi No
CI Yes

Nonpriority Creditors Name

355 S. Grand Avenue; 32rd Floor

ET usce amen. secs nmin nnn ene ee

 

Number Street

Los Angeles CA 90071

 

City State ZIP Coda

Who incurred the debt? Check one.

(@ Debtor 4 only

CY Debtor 2 only

( Debtor 4 and Debtor 2 onty

LJ At teast one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

I No
CI Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number_5_ J Sf K 5 3,131.00 |

When was the debt incurred? 07/30/2014

As of the date you file, the claim is: Check all that apply.

CJ Contingent
() unliquidated
C2 Disputed

Type of NONPRIORITY unsecured clalm:

CG] Student toans

L) Obigations arising out of a separation agreement or divorce
that you did not report as priority claims

Cl bebts to pension or profit-sharing plans, and other similar debts
fH other. Specify Payday loan

When was the debt incurred? 10/31/2014 :

As of the date you file, the claim is: Chack all that apply.

QQ Contingent
[) Unliquidated
C) pisputed

Type of NONPRIORITY unsecured claim:

CJ Student foans

Q) Obligations arising out of a separation agreement or divorce
that you did not report as prionty claims

(] Debts to pension or profit-sharing plans, and other similar debts
other. specity_Payday Loan

Last 4 digits of account number _0 4 2 _X $ 1,621.00
When was the debt Incurred? _09/01/2015

As of the date you file, the claim is: Check ail that apply.

G] contingent
C) unliquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:

EC] Student loans

E] Obligations arising out of a separation agreement or divorce
that you did not report as priomty claims
C} Debts to pension or profit-sharing plans, and other similar debts

La Other. Specify Medical expenses

pages_of6__

 

 

 
Debtor 4 James Ronald Butts

 

 

Fist Name Middie Name Lest Neme

Case number (7 known),

Your NONPRIORITY Unsecured Claims — Continuation Paga

 

. After listing any entries on this page, number them beginning with 4.4, followed by 4.6, and so forth.

 

Official Form 106E/F

Brightiending

Nonpriority Craditer’s Name

P.O.B. 578

 

Number Street

Hays MT §9527

 

City State ZIP Code

Who Incurred the debt? Check one.

A Debtor 1 only

(A Debtor 2 only

(9 Debtor 1 and Debtor 2 only

C At feast one of the debtors and another

CG) Check if this claim is for a community debt

is the claim subject to offset?

iw No
Ch ves

Advance America

 

Nonpricrity Creditors Name

 

Nuntber Streei

 

City State ZIP Code

Who incurred the debt? Check one.

uw Debtor 1 only

CI pebtor 2 only

(2 Debtor 1 and Debtor 2 only

(CF At least one of the debtors and another

@ Check If this claim is for a community debt

Is the claim subject to offset?

bd No
Q ves

NetPay Advance

 

 

Nonprionty Creditors Name

§820 W. Central Avenue

 

Number Street

Wichita KS 67212

 

Clty State ZIP Code

Who Incurred the debt? Check one.

(A Debtor 4 only

C) debtor 2 only

(CJ Debter 1 and Debtor 2 only

C] At ieast one of the debters and another

CJ Check if this claim Is for a community debt

Is the claim subject to offset?

wi Na
QO ves

Last 4 digits of account number 29 8 O 4°
07/25/2019

When was the debt incurred?

As of the date you file, the claim Is: Check all {hat apply.

{J contingent
C] Untiquidated
{) Disputed

Type of NONPRIORITY unsecured claim:

(2) Student loans

(] Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C1] Debts to pension or profit-sharing plans, and other similar debts

WA other. specity_ Personal Loan

Last 4 digits ofaccountnumber / 5 6 2°

07/17/2019

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

OQ Contingent
CI Unliquidated
GE Disputed

Type of NONPRIORITY unsecured claim:

C] Student toans

C2 Obligations ariaing out of a separation agreement or divarce that
you did not report as priority claims

(2) bebts to pansion or profit-sharing plans, and other similar debts

tA Other. Specity_ Payday Loan

 

Last 4 digits of account number 8 _1 9 _3_
When was the debt incurred? 97/1 5/2019

As of the date you file, the claim Is: Check all that apply.

C] Contingent
C} unliquidated
T] pisputed

Type of NONPRIORITY unsecured claim:

EI Student loans

QJ Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
CF Debts to pension or profit-sharing plans, and other similar debts

fA other. specity_Payday Loan

Schedule E/F: Creditors Who Have Unsecured Clalms

Total claim. 4

¢ 929.57.
$300.00.

 

page4_ of 6

 

 

 
Debtor + James Ronald Butts Case number tt Aneia)

First Name Middle Name Cast Name

 

 

List Others to Be Notified About a Debt That You Already Listed

 

 

| § Use this page only if you have others to be notified about your bankruptcy, for a debt that you already llsted in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 7 or
2, then Ilst the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed In Parts 7 or 2, jist the
addittonal creditors here, If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 of Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one}; C] Part 1: Creditors with Priority Unsecured Claims
Number Streat (] Part 2: Creditors with Nonpriority Unsecured Claims
Last4 digits ofaccountnumber
City : State an ZIP Code
On which entry in Part 1 or Part 2 did you list the orlginal creditor?
Name
Line of (Check one). GI) Part 1: Creditors with Priority Unsecured Claims
Number Street {] Part 2: Creditors with Nonpriority Unsecured
Claims
. Last 4 digits ofaccountnumber_
Cily State ZIP Code
On which entry in Part 7 or Part 2 did you list the original creditor?
Name
Line of (Check one): 2) Part 1: Creditors with Priority Unsecured Claims
Numbar Street €] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ _
Clty L State ZIP Code . La . a
On which entry in Part 1 or Part 2 did you iist the original creditor?
Name
Line of (Check one): 2 Part 1: Creditors with Priority Unsecured Claims
Number Street E) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of accountnumber Ss =
Cily State ZIP Code
On which entry In Part t or Part 2 did you list the original creditor?
Name
Line of (Check one): C2 Part 1: Creditors with Priority Unsecured Claims
Number Street QC Part 2: Creditors with Nonpriotity Unsecured
Claims
Last 4 4 digits ofaccountnumber
1 BB pean teen nnn mnnseceincennnnan een a AAR Cade — consti gnuninnnemnain sormmennemnmene see
On which entry i in Part 7 or Part 2 did you list the o original c creditor?
Name
Line of (Check one}: Part 1: Creditors with Priority Unsecured Claims
Number Street (] Part 2: Creditors with Nonpriority Unsecured
Clalms
Last 4 digits of account number _
EY suntan cree Oe ee cease aetna 7 -
x On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one}: C) Part 1: Creditors with Priority Unsecured Claims
bi Street
Number me (J Part 2: Creditors with Nenpriority Unsecured
Claims
Last 4 digits ofaccount number =

City State ZIP Coda

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims paged of 6
Bebtor 1 James Ronald Butts Case number dfknownt

First Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Glaim

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. $
from Part 1 6b. Taxes and cortain other debts you owe the
government 6b. 13,955.73
6c. Claims for death or personal injury while you were
intoxicated 6c. §
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4. $
Ge. Total. Add lines 6a through Gd. Ge.
9 ‘ 13,955.73
Total claim
~ ‘Fotal claims 6f. Student loans 6f. $
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g. $
6h. Debts to pension or profit-sharing plans, and other
simitar debts 6h. 3
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6 oF 3
6}. Total. Add lines 6f through 6: 5.
$

 

 

 

Official Form 106E/F Schedute E/F: Creditors Who Have Unsecured Ciaims page __ of 6
James Ronald Butts

Northern District of California

Official Form 106E/F CONTINUED
Schedule E/F: Creditors CONTINUED

Part 2: List All of Your NONPRIORITY Unsecured Claims

4.7 Cash America Today
Silver Financial Capital
1338 S. Foothill Drive, #195
Salt Lake City, UT 84108

Who incurred the debt? Debtor 1 only

Is this claim for a community debt? No

Is the claim subject to offset? No

Last 4 digits of account number: 8103

When was the debt incurred? 07/16/2019

As of the date you file, the claim is: N/A

Type of NONPRIORITY unsecured claim: Payday loan

4.8 Debt Management Partners
6400 Sheridan Drive; Suite 100
Buffalo, NY 14221

Who incurred the debt? Debtor 1 only

 
Is this claim for a community debt? No

Is the claim subject to offset? No

Last 4 digits of account number: 8103

When was the debt incurred? 07/16/2019

As of the date you file, the claim is: N/A

Type of NONPRIORITY unsecured claim: Payday loan

Case: 19-10655 Doc#1 Filed: 09/03/19 Entered: 09/03/19 09:48:38 Page 31 of 53

 
ie | 7 eRe fs EE i

Debtor James Ronald Butts

First Name Middie Name Last Name

 

Debtor 2
(Spouse Ef filing) Firsl Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number

(i known) LJ Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. tf tvo married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known}.

 

1. Do you have any executory contracts or unexpired leases?
Gd No. Check this box and file this form with the court with your olher schedules. You have nothing else to report on this form.
CI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 706A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease fs for (for
example, rent, vehicle lease, celt phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

Person or company with whom you have the contract or lease State what the contract or tease is for

24.

 

Name

 

Number Street

 

Cily State ZIP Coda

 

22

 

Name

 

Number Street

 

 

City _ Slate ZIP Code
2.3.

 

 

Name

 

Number Street

 

:  tiy ””~«”*~«~:CC# State ZIP Code
24

Name

 

 

Number Street

 

City State ZIP Code
25)

Name

 

 

Number Street

 

Gity State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page tof 1
Romi a (ela re

Debtor 1 James Ronald Butts

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United Stales Bankruptcy Court for the: Northern District of California

Case number
(lf known}

 

 

C3 Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Godebtors 12/15

Codebtors are peopte or entities who are also liabie for any debts you may have. Be as complete and accurate as possiblo. If two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fitt it out,
and number the entries In the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

: 1. Do you have any codehbtors? (if you are filing a joint case, do not list either spouse as a codebtor.}

a No
(2 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property stafes and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

O21 No. Go to line 3.
wd Yes. Did your spouse, former spouse, or fegal equivalent tive with you at the time?

Wi No

Yes. In which community state or territory did you five? . Fi in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivaient

 

Number Street

 

City State ZIP Coda

: 3. In Column 1, list all of your codebtors. Do not Include your spouse as a codebtor if your spouse is filing with you. List the person

shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D}, Scheduje E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 7: Your cadebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

a

 

Schedule D, line
Name
UL] Schedule E/F, fine

 

 

 

 

 

 

 

 

Number Street QO Schedule G, line
SY, ee . ZIP Code
i] Schedule D, line
; Name
OQ] Schedule E/F, line
Number Street C1 Schedule G, line
_ Gily Cae . oe. State ZIP Code
' ) Schedule D, line
: Nana
QO) Schedule E/F, line
Number Street OQ Schedule G, line
City State ZIP Code

Official Form 106H Schedule H: Your Cedebtors page 1 of 1

 

 
cua ete ae

Debtor 1 James Ronald Butts

Firet Name Middle Name Last Name

Debtor 2
{Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number Check if this is:

(if known}
CJ An amended filing
CA supplement showing postpetition chapter 13
income as of the following date:

Official Form 106! MMT DDI YYYY
Schedule I: Your income 42/45

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse Is living with you, include information about your spouse.
if you are separated and your spouse Is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number {if known). Answer every question.

 

 

 

 

Describe Employment

   

1. Fiilin your employment
information, Debtor 1 Debtor 2 or non-filing spouse

if you have more than one fob,
attach a separate page with

information about additional Employment status C) Emptoyed C) Employed
employers. i Not employed C] Not employed
include part-time, seasonal, or
self-employed work.

Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer's name

 

Employer's address

 

Number Street Number Street

 

 

 

City State ZIP Code City State ZIP Code

How long employed there?

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

Hf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions {before all payroll

 

deductions). if not paid monthly, calculate what the monthly wage would be. 2, $ 0.00 $ 0.00
' 3. Estimate and list monthly overtime pay. 3. +35 0.00 + 3 0.00
: 4, Galculate gross income, Add line 2 + line 3. 4.1 4 0.00 S 0.00

 

 

 

 

 

Official Form 1061 Schedule |: Your income page 7
Debtor 1 James Ronald Butts Case number (iténcwn)

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middie Name Last Name
For Debtor 1 For Debtor 2 or
cto  fOR-filing spouse
Copy line 4 rere ccc eeccceececeacsceeeceeeecesenseseeceeneeneeececeentscetessensseeceeceee PAL 8 0.00 $ 0.00
' 5, List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions Sa. § $.
6b. Mandatory contributions for retirement plans Sb. §. $
5c. Voluntary contributions for retirement plans Sc. §$ $
5d. Required repayments of retirement fund loans 5d.  §$ $
5e. Insurance Se. § §.
5f. Domestic support obligations ) 5
5g. Union dues 5g. $ $
Sh. Other deductions. Specify: 5h. +§ +
| 6. Add the payroll deductions. Add lines 5a+ 5b + 5c0+5d+5e+5f+5g+5h. 6. § 0.00 $ 6.00
7. Calculate total monthly take-home pay. Subtract line 6 from iine 4. 7. $ 0.00 $ 0.00
8. List all other income regularly received:
da. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 5 ¢.00
monthly net income. 8a. rr oo
8b. Interest and dividends 8b. § 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousai support, child support, maintenance, divorce $ 0.00 $ 0.00
settiement, and property settlement. &c. —_ ————————
8d. Unemployment compensation 8d. §$ 0.00 g 0.00
6e. Social Security Se. ¢$ 1,836.00 $ 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the vatue (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: eB. | 8 C00 $00
&g. Pension or retirement income 8g. § 0.00 3 0.00
ah. Other monthly income. Specify: 8h. +3 0.00 +34 0.00
9. Add all other income. Add lines 8a + 8b + fc + 8d + 8e + BF +8g + Bh. 9. | 5 1,836.00 $ 0,00
/ 10. Calculate monthly income. Add line 7 + tine 9. 4.836.00 _
’ Add the entries in tine 10 for Debtor 1 and Debtor 2 or non-filing spouse. 40. $__1,836.00 + $ 0.00 |= 5 1,836.00

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you fist in Schedule J,

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

Specify: it § 0.06
-12, Add the amount in the fast column of line 10 to the amount in line 11. The result is the combined monthly income. 4836.00
: Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12, BI
Combined

 

: monthly Income
13, Do you expect an increase or decrease within the year after you file this form?

No.
QC) Yes. Explain:

 

 

 

 

Official Form 4061 Schedule I: Your Income page 2
; a i TUL unc to eet Ter ae .

 

Debtor 4 James Ronald Butts

 

 

 

First Name Middle Name Last Name Check if this is:
Debtor 2 i
(Spouse, if filing) First Name Middle Name Lasl Wame Q) An amended filing . .
— oo 1 A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Northern District of Catifornia expenses as of the following date:
Case nuntber NM? DDI YYYY
(IF known}

 

Officia! Form 106J
Scheduie J: Your Expenses 4216

Bo as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known}. Answer every question.

 

 

os Describe Your Household

 

 

 

 

 

1. Is this a joint case?

a No. Go to line 2.
C] Yes. Does Debtor 2 live in a separate household?

QO) Ne
CJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? Wt No

 

 

 

 

 

 

 

 

 

Dependent's relationship to Dependent's Does dependent live
Do not list Debtor 1 and CD Yes. Filt out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. @ach dependent... 0
Do not state the dependents’ u Ne
names, Yes
L) No
CI ves
C) No
UL Yes
LI No
CQ] vas
O No
CJ Yes
3. Do your expenses include wi No

expenses of people other than
yourself and your dependents? C) Yes

Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and filt in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

 

such assistance and have included it on Schedule I: Your Income {Official Form 1061.) Your expenses

4, The rental or home ownership expenses for your residence. Include first mortgage payments and —e—
any rent for the ground aor jot, 4. $
if not included in line 4:
4a. Real astate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter's insurance : 4b, § 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 44. 0.00

Official Form 1062 Schedule J: Your Expenses page 1
Debtor 4 James Ronald Butts

40,
4.

12,

13,

14.

5.

16.

17.

4B.

+9,

20.

 

First Name Middle Name bast Name

. Additional mortgage payments for your residence, such as home equity ioans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c, Telephone, cell phone, internet, sateilite, and cable services

6d, Other. Specify:

 

. Food and housekeeping supplies

. Ghildeare and children's education costs

. Clothing, laundry, and dry cieaning

Personal care products and services
Medical and dental expanses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b, Health insurance
t5e. Vehicle insurance

16d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: Monthiy payment for back taxes

 

Installment or lease payments:
i7a, Car payments for Vehicle 7
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

Case number (it known),

Your payments of alimony, maintenance, and suppori that you did not report as deducted from

your pay on line &, Schedule i, Your Income (Official Form 1064.

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or § of this form or on Schedule i: Your income.

20a, Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter's insurance
20d. Maintenance, repair, and upkeep expenses

206. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

6a.
6b.
6c,

6d.

10.
i.

12.

13.
14.

15a.
16b,
18c.
16d.

16.

fa.

t7b.

1c.

17d.

18.

20a.
20b.

20s,
20d,

Your expenses

$

wf Ff fe - - FF ff ff fF

Pm fF of ff << tf

mf 4 4 +t

 

seenanancentegnemainsit

0.00

0.06
0.00

74.00
0.00

372.00
43.00

58.00
60.00

90.00

30.00
0.00

0.00
0.00
99.00
0.00

10.06

0.00
0.00
0.00
0.00

0.00

0.00

0.00

0.00

0.00

0.00
0.00

page 2

 

 
Debtor 1 James Ronald Butts Case number trinown)

First Name Middie Name Last Name

21. Other. Specify: Social Security Overpayment Repayment 24. FS 200.00

22, Calculate your monthly expenses.

22a. Add nes 4 through 21, 22a. | § 4,836.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | § 0,00
22c, Add jine 22a and 22b, The result is your monthly expenses. 22c, § 1,836.00

23. Calculate your monthly net iacome.

$ 4,836.00

23a, Copy line 12 (your combined monthly incame) from Schedule |. 23a.

23b. Copy your monthly expenses from fine 22c above. 23b.  _g 4,836.00

 

23c. Subtract your monthiy expenses from your monthly income. 0.00
The result is your monthly net income. 23¢. -

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect {fo finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

bd No.

2) Yes. _ Explain here:

Official Form 106J Schedule J: Your Expenses page 3

Case: 19-10655 Doc#1 Filed: 09/03/19 Entered: 09/03/19 09:48:38 Page 38 of 53

 
 

 

Debior 4

Bebtor 2
(Spouse, if filing) First tame Middle Name Lasi Name

Case number

 

First Name Middle Name Lasi Name

 

United States Bankruptcy Court for the: District of

 

(if known)

(J Cheek if this is an

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42118

 

If two married people are fillng together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a faise statement, concealing property, or
obtaining money o7 property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 357+.

 

 

Did you pay or agree to pay someone whe is NOT an attorney to help you fill out bankruptcy forms?

Wf No

G} Yes. Name of person, . Altach Bankruptcy Petition Preparers Notice, Declaration, and
Signature (Official Farm 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

e “that hey are rie A correct.

 
  

“a

A JE

x James R Butts

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 08/30/2019 Date
MM? DD f YYYY MM? DDS YYYY

Official Form 166Dec Declaration About an Individual Debtor's Schedutes

 

 
Debtor 4 James Ronald Butts

First Name Middle Name Last Name

 

Dablor 2

 

(Spouse, if filing) First Name Middle Name Las| Name
United States Bankruptcy Court for the: Northern District of California

Case number . +o
(if known) 1 Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsibte for supplying correct
information, If more space is needed, attach a separate shot to this form. On the top of any additional pages, write your name and case
number (if known). Ancwer every question.

Give Detalis About Your Marital Status and Where You Lived Before

 

 

 

41. What is your current marital status?

( Married
a Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

C No

wf Yes. List all of the places you jived in the last 3 years. Do not include where you live now.

Debtor 4: Dates Debtor 1 Debtor 2: Dates Debtor 2

1421 Pebblecreek Drive; #A

 

Number Street

 

Santa Rosa CA 95407

 

Clty State ZIP Code

lived there

Q Same as Debtor 1

From 12/15/2016

lived there

(3 Same as Debtor 4

From

 

to 14/01/2017 Number Street

To

 

 

City

(J Same as Debtor 4

State ZIP Code

{() same as Debtor 4

 

 

 

 

 

 

2438 Lakeview Drive From 10/01/2015 From
Number Street Number Street

To 12/15/2016 To
Santa Rosa CA 95405
City State ZIP Code City State ZIP Code

3. Within the last 6 years, did you ever live with a spouse or legal equivatent ina community property state or tercitory? (Community property
states and territories include Arizona, California, Idaho, Louisiane, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

if No

[i Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1061).

 

Explain the Sources of Your Income

 

Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 1
Debtor 4 James Ronald Butis

Case number (known)
First Name Middle Name Lasi Name

 

4. Did you have any income from employment or from oparating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list It only once under Debtor 1.

[I No
i Yes. Fill in the details.

  

Sources of Income Grose income Sources of income Gross income
Check ali that apply. (before deductions and = Check all that apply. (before deductions and
exclusions} exclusions}
From January 1 of current year until Q pass. commissions, 5 a) wEges, commissions,
the date you filed for bankruptcy: ORUSES, HPS TT ONUSeS, UPS
Gl Operating a business Cl Operating a business
For jast calendar year: [I wages, commissions, {2 wages, commissions,
. bonuses, fips $ bonuses, tips $
(January 1 to December 31,____ ss) operating a business CI Operating 4 business
For the calendar year before that: | Wages, commissions, Col Wages, commissions,
bonuses, tips $ 417.00 bonuses, tips
(January 1 to December 34,2017 id Operating a business ~ (2 operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits, royalties; and
gambling and tottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 4.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Gf No

C3 Yes. Fill In the details.

 

Sources of income Gross income from Sources of income Gross income fram

 

 

 

 

 

Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions} exclusions)
From January 1 of current year until
the date you filed for bankruptcy:
3
For last calendar year:
(January 1 to December 31, )
YYYY
For the calendar year before that: g
(January 1 te December 31,2017
yyy §
$

 

Official Form 107 Statement of Financlal Affairs for Individuats Filing for Bankruptcy page 2
Debtor 4 James Ronald Butts Case sumber (if know),

 

 

Fist Name Middle Name Last Name

 

List Gertain Payments You ade Before You Filed for Bankruptcy

 

6, Are elther Debtor 1’s or Debtor 2’s debts primarily consumer debts?
{] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 107(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

C] No. Go to line 7.

C} Yes, List below each creditor to whom you paid a total of $6,825* or mora in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attomey for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

wi Yes. Debtor t or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Gi No. Goto line 7.

C] Yes. List below each creditor to whom you paid a total of $600 or more and the tctal amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Aiso, do not include payments to an attorney for this Dankrupicy case,

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
= $ $ im Mortgage
Creditors Name
C3 car
Number Street CA Credit card

 

CJ Loan repayment

 

Cl Suppliers or vendors

 

 

 

City State ZIP Code (2 other
$ $ Q Mortgage
Creditors Name
OC) car
Ld creait cara

 

Number Street
C} Loan repayment

 

Suppliers ar vendors

 

 

 

 

oly State ZIP Cade {1 other
$ $ J Mortgage
Craditor’s Name
Cl car
Cd Credit card

Number Street
C) Loan repayment

 

C) Suppliers or vendors
CG] other

 

City State ZIP Code

Official Form 407 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
Debtor 4 James Ronaid Butts

Case number grknowny

 

First Name

Mkidie Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

Hi No

C) Yes. List alt payments to an insider.

 

 

 

 

 

Dates of Fotal amount Amount you stil Reason for this payment
payment patd owe
$. $
Inskder's Name
Number Street
City State ZIP Code
5 3.

 

insider's Name

 

Number Street

 

 

City

Stata = ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an Insider?

Include payments on debts guaranteed or cosigned by an insidev.

i No

(I Yes, List all payments thal benefited an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe _ Include creditor's name

. $ $
Insider's Name
Number Steaet
City State ZIP Code

$ $

insider's Name

 

 

 

Number Straat

 

 

chy

Official Form 107

State ZIP Code

Statement of Financial Affairs for individuats Filing for Bankruptcy page 4

 

 

 
Debtor 1 James Ronaid Butts Case number (if krroven,

First Name Middle Name fast Name

 

 

Identify Legal Actions, Repossessions, and Fereclosures

 

 

 

9 Within + year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, smail claims actions, divorces, collection sults, patemily actions, support or custody modifications,
and contract disputes.

Wi No

{I Yes. Fill in the details,

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case

Case title : Gout tame EJ Pending

fl on appeal

‘Number Street C2 concluded
Gase number :

City State ZIP Code
Casetile ‘GautName C) Pending

(2 on appeal

‘Number Street EJ Concluded
Case number

 

ily State = ZIP Code

40. Within 4 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

Wf No. Gotoline 11.
CA Yes. Fill in the information betow.

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street Explain what happened

C) Property was repossessed.

C) Property was foreclosed.

Ld Property was garnished.

City Stale ZIP Coda im Property was attached, seized, or levied.

 

 

Describe the property Date Value of the property

 

Creditors Name

 

Number = Streat

Explain what happened

Property was repossessed.

Property was foreclosed.

Property was garnished.

Properly was attached, seized, or levied.

 

 

City Stata ZIP Code

Oooo

Official Form 407 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 
Debtor 1 James Ronald Butts Case number tiknoun)

 

First Name Middle Name Last Name

41. Within S0 days before you filed for bankruptcy, did any creditor, including a bank or financial Institution, set off any amounts from your
accounts or refuse fo make a payment because you owed a debt?

i No

C) Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Craditer's Nama
$
Number Street
City State ZIP Code Last 4 digits of account number: XXxXx— __ __

42. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benofit of
creditors, a court-appointed receiver, a custodian, or another official?

i No
C} Yes

Lis¢ Certain Gifts and Contributions

 

 

 

43. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

tA No

Cl Yes. Fill In the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

 

Gifts with 2 total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts
$.
Person to Whom You Gave the Git
§
Number Street
City State ZIP Cada
Person's relationship to you
Gifts with a total value of more than $666 Describe the gifts Dates you gave Value
per person — a. cases. ., the gifts
$
Person to Whom You Gave the Gift
3
Number Street
City State 2iP Code

Person's relationship to you

Official Form 107 Statement of Financial Affalrs for Individuals Filing for Bankruptcy page 6
Debtor 1 James Ronald Butts Case number (tion)

Firel Name Middle Name Last Name

 

14. Within 2 years before you filed for bankruptcy, did you give any gifis or contributions with a total value of more than $600 to any charity?

tA No

(3 Yes. Fill In the detaits for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Valug
that total more than $600 contributed

 

Charily’s Name

 

 

Number Street

 

City State ZIP Code

List Certain Losses

 

 

 

 

 

 

15. Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

@ No

tI Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred oo —. loss lost
include the amount that Insurance has paid. List pending insurance

claims on line 33 of Sehadule A/B: Property.

List Cortain Payments or Transfers

 

 

 

16, Within 7 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property te anyone
you consulted about seeking bankruptcy or preparing a bankruptcy potition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

wi No
C3 Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
Person Who Was Paid / made
Number Street $
$

 

 

City State ZIP Code

 

Email or wabsita addrass

 

 

Person Who Made the Payment, if Not You

 

Official Form 407 Statement of Financial Affairs for Individuals Fiting for Bankruptcy page 7

 
Debtor 4 James Ronald Butts

Case number gf known),
First Name Middie Name Last Name

Description and value of any property transferred Bate payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

mall or wabsite address

 

Parson Who sade the Payment, if Not You

47, Within + year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that yau listed on line 16.

No

3 Yes. Fill in the details.

 

 

 

Description and vatue of any property transferred Date paymentor Amount of payment
transfer was
made
Person Who Was Paid
Number Street _ $
$

 

Cily State ZIP Code

 

48. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright trarisfers and transfers made as security (such as the granting of a security interest or morigage on your property).
Do not include gifts and transfers that you have already listed on this statement.
wf No
1 Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
twansferred or debts patd in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

city State ZIP Coda

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

Gily State ZIP Code

Person's relationship to you

Official Form 707 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 

 

 
Debtor 1 James Ronald Butts Case number (it known),
First Name Midle Name Last Name

 

49. Within 40 years before you filed for bankruptcy, did you transfer any property to a seif-settled trust or similar device of which you
are a beneficiary? (These are often called asset-prolection devices.)

W No

(I Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

 

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cocperatives, associations, and other financial institutions.

td No

C2 Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
Instrument closed, sold, moved, closing or transfer
or transferred
Name of Financiat institution
XXKK-__ C) cheeking $
Number Street QO Savings

Cj Money market

 

OQ Brokerage

 

 

 

City State dip Code o Other
XXXX-__ O) checking $
Name of Financiat Institution
Q Savings
Number Street a] Money market

Q Brokerage

 

C) Other.

 

Clty State “ZIP Code
i
: 24, Do you new have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

6d No

(2 Yes. Fill in the detaits.

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you stilt
_ have it?
LI No
Name of Financtal Institution Name O Yes
Number Street Number Street
City State 2iP Code

 

Clty State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 9

 

 

 

 
Debtor 4 James Ronald Butts Case number Grinosn)

First Name Midis Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
() Yes. Fill in the details.

 

 

Who else has or had access to if? Describe the contents Do you still
have it?
Ci No
Name of Storage Facility Name Cl Yes
Numbar Street Number Streat

 

City State ZIP Code

 

 

City State ZIP Cade

identify Property You Hold or Control for Somecne Else

 

 

23. Do you hold or contret any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
ww No
C} Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner's Name : $

 

 

b Street
Number Street

 

 

 

 

Clty State ZIP Code

 

State ZIP Code

 

 

Give Detalls About Environmental Information

 

For the purpose of Part 10, the following dafinitions apply:

& Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controtling the cleanup of these substances, wastes, or material,

 

@ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

 

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

i No

CI) Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you kaow it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

 

City State ZIP Code

Official Form 10% Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
Debtor 4 James Ronald Butts

First Name Middle Name Last Name

 

25. Have you notified any governmental unit of any release of hazardous material?

wi No
Ld Yes. FIll in the detalts.
Governmental unit

 

 

 

 

Namie of site Governmental unit
i Number Street Number Street
i City State ZIP Cade
: City State ZIP Code

Case number (i tsown)

Environmental law, if you know It

Date of notice

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

i No

C3 Yes. Fit in the details.

 

 

 

Court or agency
Case title.
Court Name
Number Street
Case number City State ZIP Code

 

Give Detaijis About Your Business or Connections to Any Business

Status of the
case

Nature of the case

Q Pending
C3 on appeal
QW Concluded

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections toe any business?
A soie proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

J A member of a limited liability company (LLC) or limited jiability partnership (LLP)

Oa pariner in a partnership
O an officer, director, or managing executive of a corporation

() An owner of af least 5% of the voting or equity securities of a corporation

C) No. None of the above applies. Go to Part 12.

mI Yos. Check all that apply above and fill in the details below for each business.

Describe the nature of the business
James R Butts

Businese Name

1421 Pebblecreek Drive

Number Street

 

Drove for Uber

 

Name of accountant or bookkeeper

 

 

Unit A :

- James R. Butts
Santa Rosa CA 95407 |
City Stale ZIP Code

Describe the nature of the business

 

Susiness Name

 

Number Street . So
Name of accountant or bookkeeper

 

 

 

City State ZIP Code

Official Form 107

Empfoyer Identification number
Bo not include Social Security number or THN.

: BIN: -

Dates business existed

: From01/01/2016 7) 11/01/2017

Employer Identification number
Do not Include Social Security number or ITIN,

BIN: -

Dates business existed

: From To

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 
Debtor 1 dames Ronald Butts Case number tiknosn)

First Name Middle Name Last Name

 

 

Employer tdentification number
Do not inctude Social Security number or ITIN.

Describe the nature of the business

 

Business Nama

 

 

PBINS =
Number Street +
Name of accountant or bookkeeper Dates business existed
: From To

 

City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a fInancial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

i No

C) Yes. Fill in the details below.

Date issued

 

Name MM/DDIYYYY

 

Number Street

 

 

Clty State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtalning money or property by fraud
oir ve. $1 with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

48 UES.C. §§ 152, 1344, 1619,.and3671.
FHA A

 

James R Butts x
Signature of Debtor 1 Signature of Debtor 2
Date 08/22/2019 Bate

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?

w No
fC) Yes

Did you pay or agree to pay someone who is not an attorney to help you fili out bankruptcy forms?

6d No

C) Yes. Name of person . Ailach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 179).

 

Official Form 107 Statement of Financial Affairs for individuats Filing for Bankruptcy page 12

 

 

 

 

 
 

Debtor 4 James Ronald Butts

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First ivame Middle Name Last Name

 

United States Bankruptey Court forthe: Northern District of California

Case number (J Check if this is an
(if known} amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 = ias

 

if you are an individual filing under chapter 7, you must fill out this form If:

® creditors have clalms secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is eartler, unfess the court extends the time for cause. You must alse send copies to the creditors and !essors you list on the form.
if two married people are filing together In a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

§ List Your Creditors Whe Have Secured Claims

 

 

4. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is coflateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor's £] Surrender the property. (No
name: NIA
(] Retain the property and redeem it. C3 Yes
Description of

property (] Retain the property and enter into a
securing debt: Reaffirmation Agreement.

C} Retain the property and [explain]:

 

Creditor's CI Surrender the property. C} No

 

 

“_ LJ Retain the property and redeem it. Gl Yes
cepeny of LJ Retain the property and enter into a
securing debt: Reaffirmation Agreement.
(J Retain the property and [exptain}:
Crear (] Surrender the property. GI No
: ©) Retain the property and redeem it. C} ves
reper of Ql Retain the properly and enter into a
securing debt: Reaffirmation Agreement.
{) Retain the property and [exptainf:
name. 2] surrender the property. C2 No
: (] Retain the praperty and redeem it. Cl) Yes
Oepety of (2 Retain ihe property and enter into a
securing debt: Reajffirmation Agreement.

(} Retain the property and [explain]:

 

Official Form 108 Statement of Intention for Individuats Fillng Under Chapter 7 page 1

 

 
Debtor 1 James Ronald Butts Case number (i known),

First Name Mkidle Name LastName

 

List Your Unexpired Personal Property Leases

 

 

For any unexpired personal property lease that you tlsted In Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list rea! estate leases. Unexpired leases are leases that are still in effect; the lease pertod has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365{p)(2).

 

 

 

 

Describe your unexpired personal property leases Wili the lease be assumed?
Lessor's name: N/A CE No }
¥

Description of leased Ch Yes

property:

Lessor’s name: Ca No

Description of teased Oi Yes

Property:

Lessors name: DI No

Description of leased Ql Yes

property:

Lessor’s name: CI No
() Yes

Description of leased

property:

Lessors name: CI No
CI Yes

Description of leased

propery:

Lessor's name: C1] No

; Ql Yes

Description of leased

property:

Lessor's name: C) No
C) Yes

Description of leased
property:

   

Sign Below

 

 
  
  

penaity of per] ary. declare that | have Indicated my intention about any property of my estate that secures a debt and any

personal property thatis Vian lease.
KS A *

James R
Signature of Debtor 1 Signature of Debtor 2

nate 08/22/2019 ate
MMi DD fF YYYY MM/ DDS YY¥Y

 

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
